

Matter of Raheem I.T. (2021 NY Slip Op 01866)





Matter of Raheem I.T.


2021 NY Slip Op 01866


Decided on March 25, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 25, 2021

Before: Manzanet-Daniels, J.P., Kern, Moulton, Shulman, JJ. 


Docket No. D-07668/18 Appeal No. 13435 Case No. 2019-174 

[*1]In the Matter of Raheem I.T., Appellant, a Person Alleged to be a Juvenile Delinquent. Presentment Agency.


Law Office of Thomas R. Villecco, P.C., Jericho (Thomas R. Villecco of counsel), for appellant.
James E. Johnson, Corporation Counsel, New York (Lorenzo DiSilvio of counsel), for presentment agency.



Order of disposition, Family Court, New York County (Carol Goldstein, J.), entered on or about September 05, 2018, which adjudicated appellant a juvenile delinquent upon his admission that he committed acts that, if committed by an adult, would constitute the crime of assault in the third degree, and placed him with the ACS Close to Home program for an initial period of 12 months, unanimously affirmed, without costs.
Application by assigned counsel to withdraw as counsel is granted (see Anders v California , 386 US 738 [1967]; People v Saunders , 52 AD2d 833 [1st Dept 1976]). We have reviewed the record and agree with appellant's assigned counsel that there are no nonfrivolous points that could be raised on this appeal.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 25, 2021








